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JAMEs HULETT,
Plainrirr,
vs_ No. 04-2759_Ma

JO ANNE B. BARNHART,
Cornmissioner of Social Security,

Defendant.

 

ORDER GRANTING MOTION FOR REMAND

 

Before the court is defendant’s March 22, 2005, motion for entry of judgment and remand
of the case to the defendant

On September 23, 2004, plaintiff filed this social security benefits appeal. Defendant
filed an answer on December l, 2004. On March 22, 2005, defendant filed a motion for entry of
judgment and remand pursuant to sentence f`our of section 205(g) of the Social Security Act, 42
U.S.C. §405(g). For good cause shown, the motion is granted

The court remands this action to the Commissioner of Social Security so that an
administrative law judge can further develop the record and issue a new decision The appeals
council has also agreed to remand this case to a different administrative law judge. Upon
remand, the administrative law judge Will do the following: (l) properly evaluate all medical
opinion evidence, including that of`plaintif`f"s treating physicians', (2) properly evaluate plaintiff’ s
credibility and articulate legitimate reasons for the ALJ’s findings; (3) if vocational expert

testimony is used, the ALJ Will properly develop the record according to Social Security Ruling

T|iis document entered on the docket sheet in compliance
th ama ss end/or 79(a) FacP on ’f ‘lf

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00-4p; (4) update medical evidence through the date plaintiff vvas last insured; and (5) obtain
evidence from a medical expert regarding plaintiffs limitations through the date she Was last
insured.

tr is so oRDERED this 13 /Lday ofMay, 2005.

jN//wt__._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
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Honorable Samuel Mays
US DISTRICT COURT

